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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

CLINT REYNOLDS AND §
ASHLEY REYNOLDS, §
                                                          §
       Plaintiffs,                                    §

                                                          § CIVIL ACTION NO.
                                                          9 4:16-cv-00275-Y
                                                          §
HUMANA INSURANCE COMPANY, §
HUMANA HEALTH PLAN OF TEXAS, INC., §
HUMANA HEALTH PLAN AND HUMANA §
                                                          §
       Defendants.                                     §




               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE



       Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiffs Clmt Reynolds

and Ashley Reynolds (collectively, "Reynolds" or "Plaintiffs") and Defendants Humana

Insurance Company, Humana Health Plan of Texas, Inc., Humana Health Plan and Humana


(collectively UHumana" or ^Defendants') stipulate to the dismissal with prejudice of all the

Reynolds' claims and causes of action asserted in this lawsuit, and in support would show that


Plaintiffs and Defendants have settled the dispute which was the subject of this litigation.

       WHEREFORE, Plaintiffs and Defendants pray that this suit be dismissed with prejudice,

and that each party bear its own attorneys' fees and costs of court.




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Dated: August _, 2016 Respectfully submitted,


                                /s/ J. Patrick Gallagher
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                                HUMANA INSURANCE COMPANY,
                                HUMANA HEALTH PLAN OF TEXAS, INC.
                                AND HUMANA HEALTH PLAN




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                                CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing document was served on all


counsel of record in this case in accordance with the Federal Rules of Civil Procedure on this

day of August, 2016.


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                                             /s/ Patrick Gallagher
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